                          Case 23-13289-mkn                 Doc 1        Entered 08/08/23 12:36:56                   Page 1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TURF ENVY, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7220 Dean Martin Drive
                                  Suite 600
                                  Las Vegas, NV 89118
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       turfenvyusa.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 23-13289-mkn                     Doc 1       Entered 08/08/23 12:36:56                          Page 2 of 9
Debtor    TURF ENVY, LLC                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4239

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 23-13289-mkn                        Doc 1         Entered 08/08/23 12:36:56                       Page 3 of 9
Debtor    TURF ENVY, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-13289-mkn             Doc 1     Entered 08/08/23 12:36:56                     Page 4 of 9
Debtor   TURF ENVY, LLC                                                          Case number (if known)
         Name

                          $50,001 - $100,000                         $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                          $100,001 - $500,000                        $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                          $500,001 - $1 million                      $100,000,001 - $500 million              More than $50 billion




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
                         Case 23-13289-mkn                   Doc 1        Entered 08/08/23 12:36:56                         Page 5 of 9
Debtor    TURF ENVY, LLC                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Celeste Interrante                                                     Celeste Interrante
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Micheal J. Brock, Esq.                                                  Date August 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Micheal J. Brock, Esq.
                                 Printed name

                                 May Brock Law Group
                                 Firm name

                                 1850 E. Sahara Avenue
                                 Las Vegas, NV 89104
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 388-0404                Email address      mbrock@maybrocklaw.com

                                 9353 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
    Case 23-13289-mkn   Doc 1   Entered 08/08/23 12:36:56   Page 6 of 9



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                 TURF ENVY, LLC
                 7220 Dean Martin Drive
                 Suite 600
                 Las Vegas, NV 89118

                 Micheal J. Brock, Esq.
                 May Brock Law Group
                 1850 E. Sahara Avenue
                 Las Vegas, NV 89104

                 3-D Fasteners
                 909 S. Cucamonga Avenue
                 Ste. B111
                 Ontario, CA 91761

                 AT&T
                 c/o Midland Bankruptcy
                 5407 Andrews Highway
                 Midland, TX 79706

                 CCGrass
                 Floor 19, Dadi Building, No. 56
                 Huagiao Road
                 Nanjing China 210029

                 Celeste Interrante
                 11862 Partenio Court
                 Las Vegas, NV 89183

                 Clark County Assessor
                 c/o Bankruptcy Clerk
                 500 S. Grand Central Pkwy
                 Box 551401
                 Las Vegas, NV 89155-1401

                 Clark County Treas. c/o Bankruptcy Clerk
                 500 S. Grand Central Pkwy
                 Box 551220
                 Las Vegas, NV 89155-1220

                 Dor Falik
                 c/o LVNV Legal
                 1180 N. Town CEnter Drive
                 Suite 100
                 Las Vegas, NV 89144

                 ERC Specialists
                 560 E. Timpanogos Circle
                 Orem, UT 84097

                 First Savings Bank
                 1700 W. Horizon Ridge Pkwy
                 Ste 101
                 Henderson, NV 89012
Case 23-13289-mkn   Doc 1   Entered 08/08/23 12:36:56   Page 7 of 9




             Flipping Grass
             2520 St. Rose Parkway
             Suite 108A
             Henderson, NV 89074

             Frontier Communications
             PO Box 740407
             Cincinnati, OH 45274

             Fuelman Inc.
             770 Mapunapuna Street
             Honolulu, HI 96819

             Global Funding Experts
             41-30 27th Street
             Long Island City, NY 11101

             Gray Media
             1801 Halstead Blvd.
             Tallahassee, FL 32309

             Green Turf, LLC
             13212 Dartmoor Terrace Drive
             Houston, TX 77077

             Holley Driggs
             300 S. Fourth Street
             Suite 1600
             Las Vegas, NV 89101

             Internal Revenue Service
             Centralized Insolvency Operation
             PO Box 7346
             Philadelphia, PA 19101-7346

             Las Vegas Paver Manufacturing
             6645 Gomer Road
             Las Vegas, NV 89139

             LBC Law: Blakesley Courtney
             723 S. 7th Street
             Las Vegas, NV 89101

             Motz
             1 Motz Way
             Cincinnati, OH 45244

             Newco Capital Funding
             90 Broad Street
             Suite 903
             New York, NY 10004

             Pacific Paper Tube
             2965 Lamb Blvd. #140
             Las Vegas, NV 89115
Case 23-13289-mkn   Doc 1   Entered 08/08/23 12:36:56   Page 8 of 9




             State of Nevada - Department of Taxation
             555 E. Washington Avenue
             Suite 1300
             Las Vegas, NV 89101

             State of Nevada - DETR
             500 East Third Street
             Carson City, NV 89713

             Taishan
             No. 1 Taishan Tiyu Road
             Leiling City, Shandong Province
             China 253600

             The Business Backer
             10856 Reed Hartman Highway
             #100
             Cincinnati, OH 45242

             The Smarter Merchant
             460 Park Avenue South
             New York, NY 10011

             Tough Turtle Turf, LLC
             c/o Tough Turtle Turf Investments L.L.C.
             4625 Polaris Avenue
             Suite 212
             Las Vegas, NV 89103

             Turf Center LLC
             c/o J.C. Courtney, Ltd.
             3215 W. Charleston Blvd., Suite 120
             Las Vegas, NV 89102

             TurfWorx
             1830 N. Marshall Ave.
             El Cajon, CA 92020

             Warm Springs Business Center SREIT Loop
             PO Box 781480
             Philadelphia, PA 19178-1480

             Waste Management
             PO Box 3027
             Houston, TX 77253

             XGS
             PO Box 24628
             Chattanooga, TN 37421

             Zachary Gehner
             c/o LVNV Legal
             1180 N. Town Center Drive
             Suite 100
             Las Vegas, NV 89144
                 Case 23-13289-mkn           Doc 1     Entered 08/08/23 12:36:56          Page 9 of 9




                                        United States Bankruptcy Court
                                                   District of Nevada
 In re   TURF ENVY, LLC                                                             Case No.
                                                            Debtor(s)               Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for TURF ENVY, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Celeste Interrante
11862 Partenio Court
Las Vegas, NV 89183




  None [Check if applicable]




August 8, 2023                                 /s/ Micheal J. Brock, Esq.
Date                                           Micheal J. Brock, Esq.
                                               Signature of Attorney or Litigant
                                               Counsel for TURF ENVY, LLC
                                               May Brock Law Group
                                               1850 E. Sahara Avenue
                                               Las Vegas, NV 89104
                                               (702) 388-0404 Fax:(702) 830-5699
                                               mbrock@maybrocklaw.com
